      Case 1:25-cv-00613-MLB               Document 14-8           Filed 03/19/25         Page 1 of 8




                                      (17-7) (Part 17-7)
                                       March 17, 2025'
                         The ·Office of Ulysses T. Ware
                                         123 Linden Blvd., Ste 9-L
                                           Brooklyn, NY 11226
                                              (718) 844-1260
                                          utware007@gmail.com

                                Monday, March 17, 2025 , 11:33:55 AM

VIA U.S. MAIL

Office of the District Clerk
United States District Court
Northern District of Georgia
1988 Richard B. Russell U.S. Courthouse
75 Ted Turner Drive, SW
Atlanta, GA 30303

Re: Ware, et al. v. Alpha Capital, AG, et al., Case No. 1:25-cv-00613 (NDGA)
Resubmission of Judicial Pleadings (16-16, 17-1 , 17-2, 17-4, 17-5, 17-6) Pursuant to 18 U.S.C. §
2071(a), (b) and Fed. R. Civ. P. 79.

Dear Clerk of the District Court:

I, Ulysses T. Ware, attorney in fact for the Appellants in the above-referenced matter, write on
behalf of Appellants to formally resubmit for immediate filing and docketing the enclosed judicial
pleadings and documents- identified as (16-16), (17-1), (17-2), (17-4), (17-5), and (17-6}--
pursuant to 18 U.S.C. §§ 2071(a), (b) and Federal Rule of Civil Procedure 79. These materials
were previously submitted for docketing in Case No. 1:25-cv-00613 (NDGA), yet they have not
timely appeared on the public docket.

By way of this correspondence, Appellants respectfully request that your Office promptly file and
enter these enclosed documents on the docket to ensure full compliance with Rule 79 and the
statutory mandate of 18 U.S.C. § 2071. Additionally, to safeguard the integrity of these Court
filings and the due administration of justice, we hereby request that the Clerk's Office prepare and
provide a certified chain of custody detailing the receipt, handling, and docketing history of all
submissions made by Appellants in Case No. 1:25-cv-00613 (NDGA). This certification will help
affirm that each submission is properly preserved, accurately recorded, and made accessible to all
parties and the public.

Page 1 of 2
Monday, March 17, 2025
(17-7) (Part 17-7) re Filing instructions for District Clerk (NDGA) regarding resubmission of judicial
pleadings: 16-16, 17-1, 17-2, 17-4, 17-5, and 17-6.
          Case 1:25-cv-00613-MLB           Document 14-8           Filed 03/19/25         Page 2 of 8




Thank you in advance for your prompt attention to this matter. Should there be any issues
concerning the processing or docketing of these documents, kindly contact me at the number above
or by email at your earliest convenience.

R         ectfully sub~itte,9,
      .ee,,,,,h-,-;; , w   (vUL..
   Ulfsses'"'T. Ware
Ulysses, attorney in fact for the Appellants

Enclosures: (16-16), (17-1), (17-2), (17-4), (17-5), (17-6)



cc:

      •     Office of the Clerk, U.S. District Court (N.D. Ga.), via U.S. Mail
      •     Executive Director, Administrative Office of the U.S. Courts
      •     Office of the FBI Director




Page2of2
Monday, March 17, 2025
(17-7) (Part 17-7) re Filing instructions for District Clerk (NDGA) regarding resubmission of judicial
pleadings: 16-16, 17-1, 17-2, 17-4, 17-5, and 17-6.
 Case 1:25-cv-00613-MLB                   Document 14-8         Filed 03/19/25      Page 3 of 8




                         The Office             or   Ulysses 1''. Ware
                                         12.3 Lin<Jeo Ulvd., Ste 9~L
                                           Brooklyn, NY 11226
                                              (718) 844• J260
                                          mw11rc007(u,gmaits;,0n1

                                     febmary 25, 2025, I :03:26 PM

\IJA U.S. MAil,
Office of the District Clerk
United Stal:cs District Court
Northern Di · trict of Getrrgia
1988 Richard B. Ru sell U.S. Courthouse
75 Ted Turner Drive, SW
Adanta, GA 30303

Re: Wan, n oL ,,. Alpha Capital, '11 al, Case No. lScv006J3 (NOGA)

Enclo utes: (1) AppcUants' Response to the District Court, Brown, J., O.lt. 4, February 13, 2025,
Order; and (2) Appellant Group Managemcnt1s Entry of Appearance of Coun el in 25cv00613
(NOGA).

Dear Clerk or the District Court:

Appcllants-Movants, Ulysses T. Ware and Group Management, a sole r,roprietorship, hereby
submit for filing and docketing in the above-referenced matter, Case No. 25cv006J3 (NOGA), the
following document :

     I. Appellants' Response to the District Court, Brown, J., Dkt. 4, February l3, 2025,
        Order: This document constitutes Appcllants-Movants' formal response to the Order
       .issued by the Honorable Judge Brown, Docket 'Entry 4, dated February 13, 2025, regarding
       the ~presentation of Appellant Group Management.
    2. Appellant Group Management's Entry or Appearance or Counsel in 25cv006J3
       (NDGA): This document constitutes the formal Entry of Appearance of Ulysses T. Ware
       as Attorney in Fact for Appellant Or-O\,lp Management, a sole proprietorship, pursuant to
       28 u.s.c. § 1654.

Appcllants-Movants res~tfully request that the Clerk of the District Court ensure that all futw'e
noti.ces, orders, and other docum.ents issued by the Court in Case No. 2Scv00613 (NOOA),
including all J>ACER electronic notifications, arc properly directed and served upon:

Ulysses T. Ware, Attorney in Fact for AJYpellant Group Management
The Office of Ulysse T. Ware


Page 1 of 2
Tuesday, February 2S, 202S
(16·5-Cl)) (Part 16·5-Cl) re: Clerk's filing letter




                                                                                          •    CamScanner
 Case 1:25-cv-00613-MLB                  Document 14-8             Filed 03/19/25          Page 4 of 8




     (17-1) (Part 17-1) ,r e Cover Letter to Judge Browq
                        The Office of Ulysses T. Ware
                                       123 Linden Blvd., St · 9-L
                                         Brooklyn) NY I 1226
                                            (718) 844-1260
                                        utwaf'\.-007" •mail.com

                                     Match I0, 2025, 12: 12:38 PM

The Honorable Michael L. Brown
United States District Judge
Northern District of Georgia
Richard B. Russell U.S. Counhousc
75 Ted Turner Drive, SW
Atlanta, GA 30303

Re: UIJ-sses T. Wart> and Group Managemc1n1 v. Alpha Capital, AG, et al., Case No. l:25-cv-
0061.J.l\tLB - Appellants' Request for Rule 3.3 and Rule 8.4 Professional Responsibility and
Duty of Candor Order, Appellate Status Conference, and Briefing Schedule.

Dear Judge Brown:

On behalf of Appellants, Ulysses T. Ware, and Group Management, I, Ulysses T. Ware, attorney
in fact for the Appellants, respectfully submit the enclosed Appellants' Request for Rule 3.3 and
Rule 8.4 Professional Responsibility and Duty of Candor Order, Appellate Status Conference, and
Briefing Schedule for consideration by this Honorable Court.

This Request addresses a matter of paramount importance to the integrity of these appellate
proceedings: the expFess ethical and professional responsibility obUgations that attorney Appellees
owe to this Court. As office.rs of the court and members of the bar, these Appellees are bound by
a duty of complete candor, requiring them to be forthright and truthful in all representations
made before thi,· tribunal, particularly regarding issues that are dispositfre to the instant appeal.
This duty is not merely aspirational; it is a foundational principle essential to the fair and efficient
administration of justice.

The enclosed Requ,-st seeks to invoke this Court's inherent authority to ensure that all attorney
Appellees fulfill their duty of candor to the District Court, 25cv00613 (NDGA). By directing the
attorney Appcllccs to file sworn Certificates of Candor and by scheduling an appellate status
conference, this Court can proactively address potential breaches ofprofessional responsibility and
ensure that the appellate re.cord is grounded in truthfulness and accuracy. Such mcasun.-s will
demonst.rably save and consetve valuable judicial resourc.es by clarifying critical factual and legal

Page 1of28
Monday, March 10, 2025
(17-1) (Part 17-1) re: Appellants' request for appellate status conference, briefing schedule, and show
cause order for sanctions




                                                                                                  '5} CamScanner
  Case 1:25-cv-00613-MLB                   Document 14-8            Filed 03/19/25          Page 5 of 8




( l 7-2-'Cl) (Part l 7-2-CL) Appellant 'March 12, 2025 filing oft he 'Rule 59(e) Motion to Vacate
the March 10, 2025 Order (MLU), addressed to the Office uf the 1>11ttkt Clerk, Noribun
Distrltt of Groll(i• (NDCA):


                         The Office of Ulysses T. Ware
                                       J2J Linden Blvd .• Ste 9-L
                                         l3rooklyn, .NY 11226
                                            (718) 844-1260
                                        utware001@gmail.com

                                     Wednesday, March 12, 2025

Via Certified MaU, Electronic Mall; and U.S. Mall
                                                                                           @\W
Certified Mail No.: 7022 0410 000114178798

Office of the Clerk of Court                                                          1~:...2
United States District Court
Nortbem District of Georgia
Richard B. Russell U.S. Courthouse
75 Ted Turner Drive, SW
Atlanta, Georgia 30)03

Rt: Ware, el al. 1•. Alpha Capital, AG, cl al.
Case No. l :25-cv--00613-MLB (NOGA)
Appellants' Rule 59(e) Motion to Vacate March JO, 2025 Order (Dkt. 6)

Dear Clerk of Court:

Please find enclosed for filing and docketing in the above-referenced matter the following:

    1. Appellants' Rule- 59(e) Motion to Vacate Dkt. 6, March 10, 2025 Order-with
        supporting memorandum, factual exhibits, and certific.ate ohervice.

This submission is respectfully made punuant to Rule S9(e) of the Federal Rules of Civil
Procedure, challenging the March JO. 2025. Order (0kt. 6) of tbe Honorable Michael L. Brown
dismissing Appellant Croup Management:, a sole proprietonhip, on grounds that are factuaJly
and legally etroneous.                 ·

Appellants respectfully submit that the Court's dismissal of Group Management was based on a
factual misapprehension of the record and overlooked binding federal statutory law (28



Page 1of2
Wednesday, March 12, 2025
{17-2-Cl) (Part 17•2} re: Appellants' Rule 59(e) application to vacate March 10, 2025, Dkt. 6, Order
(MUJ)




                                                                                                   &, CamScanner
  Case 1:25-cv-00613-MLB                   Document 14-8             Filed 03/19/25          Page 6 of 8




                   Case No. 2Sc,v00613 (NOGA) (MLB)
 Filed on March 13, 2025, 2:18:23 PM via U.S. mail and viu email tuU1c Cham~rs of the Hon.
 District Judge Michael L. Brown pursuant to I8 USC § 207 l(a), {b). njudiciul public record.

                         The Office of Ulysses T. Ware
                                        123 Linden Blvd., Ste 9-L
                                           Brooklyn, NY l 1226
                                              (718) 844-1260
                                         utwarc007@J;mail.cQm
                                Thursday, Marth J3, 2025, 2: J8:23 PM

 BY U.S. MAIL AND ELECTRONIC FILING

The Honotab'lc Mithael l . Brown
United States District Judge
Northern District .of Georgia
Richard 8. Russell U.S. Courthouse
75 Ted Turner Drive, SW
Atlanta, GA 30303

Re: Prose Appellants' 18 V.s.c. §§ 1071(1), (b), 28 U.S.C. § 1654 Filtng: March 13, 2015,
(17-4) (Part 17-4) re: 0kt. 298 (F-10 and F-11) (03-93031) (BC NOGA) 0J.13.25
Memor-andum to the District Court (NDGA), 2Sn00613 (NDGA) (Brown, J.): tt AppellRS'
Judicial Admissions of 18 USC § J9St(a) Hobbs Ad Extortion, Racketeering Bankruptcy
Crimes and Frauds, and 18 USC§ 1961(6)(8) Predatory Unlawful Debt (GX 1-4) Collection
Acdvities by Appellees KTS, Meir., Mills, Walker, Kadaba, 'Morawetz, the U.S. Trustee,
Region 21, Rabinowitz. the U.S. Manhals, Zitter, their unregi~t~rtd hroltrMlral~, clients,
and other Appellees.

 Your Honor:

       Please accept for urgent filing and judicial consideration the enclosed original
Memorandum of Law, submitted by prose Appellants Ulysses T. Ware and Group Management
(asoleproprletonblp)pursuantto 18 U.S.C. §§ 207l(a),(b), and28 U.S.C. § 1654. This critically
important filing, designated as (17-4) (Part 17-4) 0kt. 298 (F-10 and F-11) (03-93031) (BC
NOGA) 03.13.25 Memorandum to the District Court (NOGA), IN SUPPORT OF Appellants'
Application of a Rule 3.3/8.4 Show Cau..~e Order and other reliefs (17-l) (Part t 7-J) (March 10,
2025) constitutes definitive proof of egregious criminal misconduct by officers of this Court.

                                SUMMARY Of' THE ARGUMENT.


 Page I ofl3
 Thursday, March J3, 2025
(174) {Part 17-4) re: Mcmorandwn to the District Court (NOOA), 25cv00613 (NOOA) (Brown, J.): re
Judicial Admissions of Hobbs Act Extortion, Racketeering Bankruptcy Crimes, and frauds of Appellecs
KTS, Meir, MiUs, Zitler, and their unregistered broker-dealer clients, the 02cv22 I9 (SONY) plai'ntiffs, and
their agents, proxies, ,sum>gatcs, alter--egos, and all those i'n active concert therewith ..




                                                                                                    ~ CamScanner
  Case 1:25-cv-00613-MLB               Document 14-8            Filed 03/19/25         Page 7 of 8




                                 2Sc·v00613 (NDGA)
                                  (17-5) (Part 17-5)
                       The Office of Ulysses T. Ware,
                                      123 tinuen Blvd .• Ste 9-L
                                        Brooklyn, NY 11226
                                          (718) 844-1260
                                       utwarc007 a1 , i om

                               Friday, March .14, l0lS, 1:33:38 PM

 DY US. MAIL AND ELECTRONIC FILING
 The Honorable Michael L. Brown
 United States .District Judge
 Northern Di trict of Georgia
 Richard B. Russell U.S. Courthouse
 75 Ted Turner Drive, SW
 Atlanta, GA 30303

 Rt: Prose Appellants' l8 USC§§ 207J(a), (b), 28 USC§ 1654 Marc'b 14, 2025, (17-5) (Part
 17-5) 03.14.25 Memorandum to the DI trlct Court (NOGA), 25cv'00613 (NOGA) (Brown, J.):
 re Supplemental Memorandum of Law regarding AppelJen' Lack of Artide 111 Standing
 and Subject Matter Jurisdiction.

m•fully sub:i:i2ed,

"ti, 'u~?.,'JIJ:W-
 Ulysscs T. Ware
 28 USC§ 1654 Attorney-in-fact for Appellants, Group Management (a sole proprietorship) and
 Ulysses T. Ware

 cc:
 The Oftite of the District Clerk (NOOA).
 Executive Director Administrative Office of the U.S. Courts,
 Office of the FBI Direclor,
 via U.S. mail.



 28 USC § 1654 Pro Se Appellants' Certificate of Filine

Page 1 of29
Friday, March 14, 2025
(17-S) (Part 17-5) re: Appellants' Supplemental Memorandum #2 in Support of (17-1) (March 10, 2025)
Application for entry of a Show Duse Order and other reliefs.




                                                                                             Ci CamScanner
    Case 1:25-cv-00613-MLB               Document 14-8             Filed 03/19/25          Page 8 of 8




                              (17-6) (Part J7-6) (03.17;JS}
                             Case No. 1:25-cv-006:13-MLB
                         The ·Offlce of Ulysses T. Ware
                                        123 Linden Blvd., Sic 9-L
                                          Brooklyn. NY 1 J226
                                            (718) 844-.1260
                                         utwarc007(li1&n1ai!.~om

                                Monday, Murch 17, 2025; J0:06:51 AM

 VtA U.S. MAU, AND F.-MAU., TO CRAM'B.ERS
 The Honorable Michael L. Brown
 United States District Judge
 Northern District of Georgia
 Richard 8. Russell U.S. Courthouse
 75 Ted Turner Drive, SW
Atlanta, GA 30303

Re: Declaration of Filing - Appellants' Supplemental Memorandum of Law (#3) (17-6)
i.n Further Support of( 17-l) March I0, 2025, Application for Article 1Jl Jurisdictional Show Cause
 Order and Related Reliefs.

Case No.: l :25-cv-00613-MLB (N.D. Ga.)

 Dear Judge Brown:

 Pursuant to 28 U.S.C. § 1654, AppeJlants Group Management (a sole proprietorship) and Ulysses
 T. Ware, appearing pro sc through the undersigned attorney in fact, hereby submit and file the
 attached Supplemental Memorandum or L•w (#3). dt.-signated as Dkt. 17-6, dated March 17,
 2025. in further support of Appellants ' March 10, 2025, (17-1) Application for an Article Ill
 JurisdictionaJ Show Cause Order and Other ReUd (collectively, the ''Application").

As of today, March 17, 2025, the March 10, 202.S, 17-1 Application for the Show Cause Order
does 'DOt appear on the Court' s official docket. Appellants respectfully request that the District
Court inquiry as to ·flttchaln o[e:gstody, curm,c logtlon. aad cyrmt1tatu1 of 17-1 and other
recent submissions (17-2, 17-4, and 17-5) by Appellants alJ protected by 18 USC§§ 2071(a), (b)
from suppression. concealment, and removal. 1



1
  ( •) Wb~tr wtJlfuUy •ad un)a'ffully co-omit, removes, mutilate , obliter.ites, or destroys, or attempts
to do so. or, with intent to do so takes and carrie~ away any record, proceeding, map, b<)()k, . . ,
llmDKPt or other tJaJoc.1Jksl'.tr doosJ!ed wJth 11Y dtrk or offltttofany mn of the Vatted ltltH.
Page 1 of 49
Monday, March 17, 2025
(17-6) (Part 17-6) re Appellants' Article Ill Jurisdictional Supp. Memorandum of Law (#3) in support of
{17-1) March 10, 2025, Show Cause Order,




                                                                                                  ~ CamScanner
